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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 IN RE: PHILIPS RECALLED CPAP, BI-             Master Docket: Misc. No. 21-mc-1230-JFC
 LEVEL PAP, AND MECHANICAL
 VENTILATOR PRODUCTS                           MDL No. 3014
 LITIGATION

 This Document Relates to: All Actions
 Asserting Economic Loss Claims



        UNOPPOSED MOTION OF PROPOSED SETTLEMENT CLASS
       REPRESENTATIVES FOR PRELIMINARY APPROVAL OF CLASS
      SETTLEMENT AGREEMENT AND RELEASE OF ECONOMIC LOSS
  CLAIMS AND TO DIRECT NOTICE TO THE PROPOSED SETTLEMENT CLASS

       The proposed Settlement Class Representatives, Elizabeth Heilman; Ivy Creek of

Tallapoosa LLC d/b/a Lake Martin Community Hospital; Peter Barrett; Julie Barrett; and

ASEA/AFSCME Local 52 Health Benefits Trust, hereby respectfully move the Court for an Order

to, among other things: (1) preliminarily certify the proposed Settlement Class; (2) preliminarily

approve the Settlement; (3) determine that the Settlement appears fair, reasonable, and adequate

within the meaning of Rule 23 of the Federal Rules of Civil Procedure and thus sufficient to

promulgate notice of the Settlement to the Settlement Class; (4) order that notice be provided to

the Settlement Class pursuant to the terms of the Settlement Agreement; (5) give Settlement Class

Members the right to object to or be excluded from the Settlement; (6) inform Settlement Class

Members that they will be bound by the Final Order and Judgment unless they validly request

exclusion; (7) stay and enjoin the continued pursuit of all Economic Loss Claims of Settlement

Class Members against Defendants and the other Released Parties, whether in the MDL Court or

in any other court or tribunal, until such time as the MDL Court has determined whether to enter

the Final Order and Judgment; (8) schedule the Final Fairness Hearing not earlier than six months
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following entry of the Preliminary Approval Order; (9) appoint Angeion Group, LLC as the

Settlement Administrator; (10) appoint Huntington Bank as the Settlement Funds Escrow Agent;

(11) appoint the Honorable Thomas J. Rueter (Ret.) as the Claims Appeals Special Master; (12)

appoint the five Settlement Class Representatives; (13) appoint Settlement Class Counsel; (14)

preliminarily approve the plan of allocation of Settlement funds set forth in the Settlement

Agreement; (15) order the establishment of the Settlement Funds, as set forth in the Settlement

Agreement; (16) order the payment of all reasonable costs of Settlement Administration, as set

forth in the Settlement Agreement; (17) find that the Settlement Funds are to be a “Qualified

Settlement Fund” as defined in Section 468B-1(c) of the Treasury Regulations; and (18) provide

that any objections by any Settlement Class Member to the Settlement shall be heard and any

papers submitted in support of objections shall be considered by the MDL Court at the Final

Fairness Hearing only if, on or before the conclusion of the Opt-Out/Objection Period, such

Settlement Class Member follows the required procedures set forth in the Settlement Agreement.

       The Philips Defendants do not oppose this Motion.

       In further support of this Motion, proposed Settlement Class Representatives submit the

accompanying Brief; the proposed Settlement Agreement, which has attachments that include the

Notice Plan, forms of Notice, and Claims Forms; the proposed Preliminary Approval Order; the

declaration of the Honorable Diane M. Welsh (Ret.); and the declaration of Steven Weisbrot on

behalf of the proposed Settlement Administrator, Angeion Group, LLC.

       Proposed Settlement Class Representatives respectfully request a hearing on this Motion.

       Proposed Settlement Class Representatives further request that their Motion be granted,

and a proposed Preliminary Approval Order is attached hereto.




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Dated: September 7, 2023                          Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed via the

Court’s CM/ECF system on this 7th day of September 2023, and will be served to Counsel for

Defendants via email.

                                              /s/ D. Aaron Rihn
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